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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


WESTERN WATERSHEDS PROJECT,                          No. 1:18-cv-335

                     Plaintiff,
                                                     COMPLAINT
                v.

USDA APHIS WILDLIFE SERVICES,

                     Defendant.



                                       INTRODUCTION

       1.       This is an action under the Freedom of Information Act (FOIA), 5 U.S.C. § 552 et

seq., to compel the Defendant USDA APHIS Wildlife Services (Wildlife Services) to produce

documents and records that Plaintiff Western Watersheds Project (WWP) requested several

months ago.

       2.       Western Watersheds Project requested documents and records concerning

Wildlife Services’ operations in Idaho to further its objective of informing the public about ways

in which Wildlife Services’ operations are affecting Idaho’s wildlife.




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       3.       Western Watersheds Project requested the subject records in four FOIA requests

to Wildlife Services, which the agency received on January 26, 2018, March 13, 2018, May 30,

2018, and May 31, 2018. To comply with FOIA’s requirement that responsive documents be

produced within 20 working days of receiving a request, and absent unusual circumstances, the

agency should have responded to these requests by February 23, 2018, April 10, 2018, June 28,

2018, and June 29, 2018, respectively.

       4.       As of the date of filing this Complaint, and despite multiple communications with

Wildlife Services’ FOIA liaisons, Western Watersheds Project has received none of the

requested documents.

       5.       In this civil action Western Watersheds Project seeks a court order (1) declaring

that Defendant’s failure to adequately respond to Western Watersheds Project’s requests violates

FOIA; and (2) enjoining Wildlife Services to immediately produce the requested records.	

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B),

and 28 U.S.C. § 1331 because this action arises under FOIA and the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq.

       7.       Venue is proper in this Court under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391

because Plaintiff WWP’s principal place of business is in this district, the records requested

concern Wildlife Services’ activities in this district, and a substantial part of the events or

omissions giving rise to the claims herein occurred in this district.	

                                              PARTIES

       8.       Plaintiff Western Watersheds Project is an Idaho non-profit organization with

about 1500 members and over 5,000 supporters, many of whom live in Idaho. WWP is




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headquartered in Hailey, Idaho, and has staff there and in Boise, Idaho, as well as in other

western states.

        9.        WWP’s mission is to protect and restore western watersheds and wildlife through

education, public policy initiatives, and legal advocacy. WWP is active in seeking to protect and

improve the public lands, wildlife, and other natural resources and ecological values of western

landscapes, particularly by addressing impacts caused by domestic livestock grazing. WWP has

long-standing concerns about Wildlife Services’ predator control activities to benefit agricultural

producers in Idaho and other states, which unnecessarily kill and injure wildlife, and cause

ecological degradation.

        10.       To further its mission, WWP often requests information regarding federal

programs and activities through FOIA. WWP then compiles and analyzes the information it

obtains through the requests and disseminates it to the public in various ways, including by:

presenting the material to its members, as well as members of other state and national

conservation organizations, through its newsletter, email alerts, and on social media; to national,

regional and local media; and to a heavily trafficked weblog, The Wildlife News

(http://www.thewildlifenews.com). The records requested in the FOIA requests at issue here

will help WWP inform and educate its members and the public about Wildlife Services’ predator

control activities.

        11.       WWP and its staff and members are directly injured by Defendants’ failure to

comply with the statutory requirements of FOIA, and a favorable outcome of this litigation will

redress that injury. WWP brings this suit on behalf of itself, its staff and its members.

        12.       Defendant USDA-APHIS WILDLIFE SERVICES (Wildlife Services) is an

agency or instrumentality of the United States, within the U.S. Department of Agriculture’s




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Animal and Plant Health Inspection Service (APHIS). Wildlife Services is charged with

conducting “wildlife damage management” activities in compliance with local, state and federal

laws and regulations. APHIS handles the processing of FOIA requests regarding Wildlife

Services’ operations through its Riverdale, Maryland-based FOIA program. Searches for

information occur primarily in Wildlife Services’ offices in Idaho, where the requested

information is located. For purposes of this Complaint, APHIS’s Riverdale, Maryland-based

FOIA program and Wildlife Service’s Idaho-based program are cumulatively referred to as

“Wildlife Services.”

                         THE FREEDOM OF INFORMATION ACT

       13.     FOIA was enacted “to establish a general philosophy of full agency disclosure

unless information is exempted under clearly delineated statutory language.” S. Rep. No. 813, at

3 (1st Sess. 1965). As the Supreme Court has affirmed, “Congress believed that this philosophy,

put into practice, would help ‘ensure an informed citizenry, vital to the functioning of a

democratic society.’” Dep’t of Justice v. Tax Analysts, 492 U.S. 136, 142 (1989) (quoting Nat.

Labor Relations Bd. v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978)). Accordingly,

“the basic purpose” of FOIA is “to open agency action to the light of public scrutiny.” Dep’t of

Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 772 (1989) (quoting Dep’t

of the Air Force v. Rose, 425 U.S. 352, 372 (1976)).

       14.     FOIA provides that agencies “shall” determine within twenty (20) working days

after receipt of a request whether to comply with it. 5 U.S.C. § 552(a)(6)(A); 7 C.F.R. §§ 1.7.

       15.     The Secretary of Agriculture’s FOIA regulations, which apply to agencies within

USDA, including Wildlife Services, see 7 C.F.R. § 1.1, provide that the date of receipt of the

request is the day it is received by the agency and office responsible for processing FOIA




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requests, in this case APHIS’s Riverdale, Maryland FOIA office. 7 C.F.R. § 1.13. If an agency

seeks clarification of a request to identify the records sought, the date of receipt of the request is

the date of receipt of the amended or clarified request. 7 C.F.R. § 1.5(c).

       16.     In determining whether to comply with a request, the agency must first gather and

review the requested documents. Citizens for Responsibility and Ethics in Wash. v. Federal

Election Com’n, 711 F.3d 180, 188 (D.C. Cir. 2013) (“CREW”).

       17.     Then, the agency making the determination “must determine whether to comply

with a request—that is, whether a requester will receive all the documents the requester seeks. It

is not enough that, within the relevant time period, the agency simply decide to later decide.

Therefore, within the relevant time period, the agency must at least inform the requester of the

scope of the documents that the agency will produce, as well as the scope of the documents that

the agency plans to withhold under any FOIA exemptions.” CREW, 711 F.3d at 186.

       18.     The agency “shall immediately notify the [requester] of [its] determination and

the reasons therefore, and of the right of such person to appeal to the head of the agency any

adverse determination.” 5 U.S.C. § 552(a)(6)(A)(i). “The requirement that the agency notify the

requester about administrative appeal rights [] indicates that the ‘determination’ must be

substantive, not just a statement of a future intent to produce non-exempt responsive

documents.” CREW, 711 F.3d at 186.

       19.     FOIA provides that “[u]pon any determination by an agency to comply with a

request for records, the records shall be made promptly available to such person making such

request.” 5 U.S.C. § 552(a)(6)(C)(i).




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       20.     An untimely determination or response is a violation of FOIA, regardless of the

final outcome of the request. Gilmore v. U.S. Dept. of Energy, 33 F.Supp.2d 1184, 1188 (N.D.

Cal. 1998); Ore. Natural Desert Ass’n v. Gutierrez, 409 F.Supp.2d 1237, 1248 (D. Or. 2006).

       21.     In case of specified unusual circumstances, the time limits prescribed in the

statute may be extended by written notice to the requester “setting forth the unusual

circumstances for such extension and the date on which a determination is expected to be

dispatched.” Id. § 552(a)(6)(B)(i); see also 7 C.F.R. § 1.16. “No such notice shall specify a date

that would result in an extension for more than ten working days,” except as provided elsewhere

in the statute. 5 U.S.C. § 552(a)(6)(B)(i). “Unusual circumstances” means “only to the extent

reasonably necessary to the proper processing of the particular requests” the need to search for

and collect records from separate offices; the need to search for, collect, and appropriately

examine a voluminous amount of separate and distinct records; or the need for consultation with

another agency. Id. § 552(a)(6)(B)(iii).

       22.     An agency must provide an estimated date on which the agency will complete the

request. 5 U.S.C. § 552(a)(7)(B)(ii).

       23.     A requester “shall be deemed to have exhausted his administrative remedies with

respect to such request if the agency fails to comply with the applicable time limit provisions.” 5

U.S.C. § 552(a)(6)(C)(i);	see also CREW, 711 F.3d at 185 (“If the agency does not make a

‘determination’ within the relevant statutory time period, the requester may file suit without

exhausting administrative appeal remedies.”).




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                                  STATEMENT OF FACTS

       A.       FOIA Request No. 2018-APHIS-02114-F.

       24.      On January 26, 2018, WWP submitted via electronic mail a FOIA request to

Wildlife Services requesting information related to the agency’s investigations of the causes of

livestock depredation in Idaho, which often lead to the agency killing wolves. The request was

time-sensitive because Wildlife Services was, and is currently engaged in depredation

investigations that have led, and will lead to the killing of wolves in Idaho. WWP included a fee

waiver request. Wildlife Services received the request on January 26, 2018 and assigned it

tracking number 2018-APHIS-02114-F. A determination was due on February 23, 2018.

       25.      On January 30, 2018 WWP received two emails—one from the USDA FOIA

Service Center, and another from USDA FOIA Officer Shirley A. Boyd—acknowledging receipt

of the FOIA request. The latter email, from Ms. Boyd, stated that the “estimated response date”

for the request was February 26, 2018, and instructed WWP to contact FOIA liaison Brion

McConville if WWP had “questions concerning the request.”

       26.      On March 14, 2018, WWP asked Mr. McConville via email for an update

regarding the status of the request. WWP received no response from Mr. McConville or Wildlife

Services.

       27.      On April 12, 2018, WWP again asked Mr. McConville for an update via email

regarding the status of the request. Again, WWP received no response.

       28.      On April 17, 2018 WWP again asked Mr. McConville for an update via email.

Specifically, WWP requested a “determination” as required within 20 days by 5 U.S.C. §

552(a)(6)(A) and 7 C.F.R. §§ 1.7. WWP asked Mr. McConville whether Wildlife Services

intended to comply with WWP’s request, whether WWP’s request for a fee waiver had been




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granted, and whether Wildlife Services intended to withhold any records. WWP also asked that,

if Wildlife Services intended to withhold any records, it provide a Vaughan index “detailing the

nature of the records [withheld] and reasons for any exemptions claimed.” Finally, the letter

informed Mr. McConville that WWP would consider legal action if it did not receive a response

within 20 days.

       29.     On April 20, 2018, McConville responded to WWP’s April 17 letter via electronic

mail and voicemail. Mr. McConville apologized for “not being more responsive” and stated that

WWP’s FOIA request was “in [his] queue for processing.” Mr. McConville did not state

whether Wildlife Services intended to comply with WWP’s request, whether Wildlife Services

intended to withhold any records, or whether WWP’s request for a fee waiver had been granted.

Nor did Mr. McConville provide any estimated response date for WWP’s request.

       30.     On April 23, 2018 WWP replied to Mr. McConville via email, again requesting

an estimated completion date, and stating that the information WWP sought was time-sensitive.

WWP received no response.

       31.     On May 17, 2018 WWP again inquired via email to Mr. McConville regarding

the status of FOIA No. 2018-APHIS-02114-F. WWP again informed Mr. McConville that it

would contemplate legal action if it did not receive “a response, fee waiver decision, and

disclosure.” To date, WWP has received no response.

       B.      FOIA Request No. 2018-APHIS-02936-F.

       32.     On March 13, 2018, WWP (along with Friends of the Clearwater and Predator

Defense) submitted a FOIA request via email to Wildlife Services regarding wolf control in

Idaho done for the purpose of benefitting ungulates. The request included a fee waiver. WWP

requested that the FOIA receive expedited processing, pursuant to 7 C.F.R. § 1.9(b), which




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provides for expedited processing of a FOIA request when there is “[a]n urgency to inform the

public about an actual or alleged federal government activity,” if made by an entity “primarily

engaged in disseminating information.”

       33.     On the same day, Wildlife Services acknowledged the request. It was assigned

tracking number 2018-APHIS-02936-F. The agency identified a “target response date” of April

10, 2018. A determination was due on April 10, 2018.

       34.     On March 23, 2018, Wildlife Services informed WWP via emailed letter (dated

the day before) that it denied the request for expedited treatment.

       35.     On April 10, 2018, Rasheena Spears of the APHIS Office of Legislative and

Public Affairs emailed an update to WWP, stating that Wildlife Services “forwarded my office

copies of documents which they believe are responsive to your request,” and that “[t]hose

documents are currently under review.” The update did not state whether the fee waiver was

being granted, include whether Wildlife Services intended to withhold any records, or provide an

estimated completion date.

       36.     On July 13, 2018, WWP emailed Ms. Spears asking for an update and a

determination, including whether Wildlife Services intended to comply with the request and if

so, when; an estimated completion date; whether the fee waiver had been granted; and whether

documents would be withheld.

       37.     On July 18, 2018, Ms. Spears responded, stating she had completed an initial

review of “various documents responsive to your request,” but that those documents are awaiting

secondary review/clearance, and that the documents will be provided as a “partial response”

when they are “deemed suitable for release.” She stated fees will not be assessed. Again, the




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update did not include whether Wildlife Services intended to withhold any records or provide an

estimated completion date.

       C.      FOIA Request No. 2018-APHIS-04319-F.

       38.     On May 30, 2018, WWP submitted a FOIA request via email to Wildlife Services

regarding cooperative agreements between Wildlife Services and other agencies, work plans for

2017 and 2018, and summary reports of predator control activities, along with a fee waiver

request.

       39.     On May 31, 2018, Wildlife Services acknowledged receipt of the request. The

agency assigned the request tracking number 2018-APHIS-04319-F, and a “due date” of June 27,

2018. WWP received no further information regarding whether APHIS Wildlife Services

expected to comply with the request, any estimated completion date, what documents might be

withheld, whether the fee waiver was granted, or any right to appeal.

       40.     On July 2, 2018, WWP inquired about the status of the request. Wildlife Services

did not respond to WWP’s inquiry.

       41.     A response to request No. 2018-APHIS-04319-F was due on June 28, 2015. As

of this date, WWP has received no further communications regarding these records and has not

received responsive records.

       D.      FOIA Request No. 2018-APHIS-04320-F.

       42.     On May 30, 2018, WWP submitted a FOIA request via email to Wildlife Services

regarding reports of wolves in the vicinity of Boise, Idaho, and any Wildlife Services activities in

the same area. WWP included a fee waiver request.




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       43.     On May 31, 2018, Wildlife Services, via email, asked WWP to clarify the request

by specifying a date range. WWP replied the same day via email, specifying a date range of

January 1, 2015 to the date of search. A determination was due on June 29, 2018.

       44.     Wildlife Services assigned the request tracking number 2018-APHIS-04320-F.

WWP received no further information regarding whether APHIS Wildlife Services expected to

comply with the request, any estimated completion date, what documents might be withheld,

whether the fee waiver was granted, or any right to appeal.

       45.     On July 1, 2018, Rasheena Spears of the APHIS Office of Legislative and Public

Affairs emailed an update to WWP, stating that “the program office tasked with undertaking the

search for documents responsive to [the] request,” had “completed the search,” and that Ms.

Spears had “virtually completed the initial review of the [responsive] documents.” The update

did not state whether the fee waiver was being granted, whether Wildlife Services intended to

withhold any records, or provide an estimated completion date.

       46.     WWP responded the same day via email, asking Ms. Spears whether Wildlife

Services intended to comply with the request, whether WWP’s request for a fee waiver had been

granted, and whether Wildlife Services planned to withhold any documents. Wildlife Services

did not respond to WWP’s inquiry.

       47.     A response to request No. 2018-APHIS-04320-F was due on June 29, 2015. As

of this date, WWP has received no further communications regarding these records and has not

received responsive records.

       E.      Relevant Facts Regarding All FOIA Requests.

       48.     Wildlife Services has not rendered a timely and adequate determination with

respect to any of the requests described above.




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       49.     Wildlife Services has not informed WWP whether it expects to fully comply with

the requests, provided an estimated completion date, describe which documents might be

withheld and why, or describe WWP’s right to appeal.

       50.     Wildlife Services has not produced any responsive documents.

       51.     Upon information and belief, Wildlife Services undertakes “double review” of

these records, whereby the Wildlife Services program office first reviews the records and they

are then reviewed a second time by the FOIA office. This system impedes timely release of the

records.

       52.     Upon information and belief, Wildlife Services is wrongfully withholding these

records from WWP.

       53.     Wildlife Services’ failure to timely and fully respond to WWP’s requests

frustrates WWP’s pursuit of its objective to educate its members, the public, and decision makers

about Wildlife Services’ predator control activities to benefit agricultural producers in Idaho,

which unnecessarily kill and injure wildlife, and cause ecological degradation.

                           FIRST CLAIM FOR RELIEF
   Violations of FOIA—Failure to timely respond to Request No. 2018-APHIS-02114-F.

       54.     WWP realleges and incorporates by reference all preceding paragraphs.

       55.     Wildlife Services has violated and continues to violate the FOIA and USDA’s

FOIA regulations by failing to provide WWP with a timely and full response to FOIA request

No. 2018-APHIS-02114-F, including but not limited to for the following reasons.

       56.     WWP has a statutory right to the records sought and there is no legal basis for

Wildlife Services to assert that any of FOIA’s nine disclosure exemptions apply to prevent their

disclosure. 5 U.S.C. § 552(b)(1)(9). Defendants’ failure to produce the documents is therefore a

constructive denial and unlawful withholding.



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        57.    WWP has a statutory right to have Wildlife Services process the request in a

manner which complies with FOIA. WWP’s rights in this regard were violated when Wildlife

Services unlawfully delayed the response to the request beyond the determination deadlines

imposed by FOIA. 5 U.S.C. § 552(a)(6)(A)(i), (ii).

        58.    Wildlife Services has failed to make an adequate and timely determination

because the statutory deadline of 20 days has passed and Wildlife Services has failed to inform

WWP whether it plans to comply with the request; when WWP may anticipate to receive a full

response (an estimated completion date) and if not, the reasons for which it is denying the

request; the volume of records denied; and how WWP may appeal. 5 U.S.C. § 552(a)(6)(A)(i); 7

C.F.R. §§ 1.2(a), 1.7.

        59.    Wildlife Services has failed to notify WWP of any “unusual circumstances” in a

notice that also set forth a date on which the determination was expected to be dispatched within

ten working days of the statutory 20-day deadline, as required by FOIA. 5 U.S.C. §

552(a)(6)(B)(i), 43 C.F.R. § 2.13.

        60.    Wildlife Services has failed to make any records that it may have determined to

release to WWP promptly available, as required by FOIA. 5 U.S.C. § 552(a)(6)(C)(i); 7 C.F.R. §

1.19(a).

        61.    Wildlife Services has failed to provide an estimated date on which it will

complete the request, as required by FOIA. Id. § 552(a)(7)(B)(ii).

        62.    Wildlife Services is improperly withholding records from WWP in violation of

FOIA.




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       63.     Unless enjoined and made subject to a declaration of WWP’s legal rights by this

Court, Wildlife Services will continue to violate the rights of WWP to receive public records

under FOIA.

                          SECOND CLAIM FOR RELIEF
Violations of FOIA—Failure to timely respond to FOIA Request No. 2018-APHIS-02936-F.

       64.     WWP realleges and incorporates by reference all preceding paragraphs.

       65.     Wildlife Services has violated and continues to violate the FOIA and USDA’s

FOIA regulations by failing to provide WWP with a timely and full response to FOIA request

No. 2018-APHIS-02936-F, including but not limited to for the following reasons.

       66.     WWP has a statutory right to the records sought and there is no legal basis for

Wildlife Services to assert that any of FOIA’s nine disclosure exemptions apply to prevent their

disclosure. 5 U.S.C. § 552(b)(1)(9). Defendants’ failure to produce the documents is therefore a

constructive denial and unlawful withholding.

       67.     WWP has a statutory right to have Wildlife Services process the request in a

manner which complies with FOIA. WWP’s rights in this regard were violated when Wildlife

Services unlawfully delayed the response to the request beyond the determination deadlines

imposed by FOIA. 5 U.S.C. § 552(a)(6)(A)(i), (ii).

       68.     Wildlife Services has failed to make an adequate and timely determination

because the statutory deadline of 20 days has passed and Wildlife Services has failed to inform

WWP whether it plans to comply with the request; when WWP may anticipate to receive a full

response (an estimated completion date) and if not, the reasons for which it is denying the

request; the volume of records denied; and how WWP may appeal. 5 U.S.C. § 552(a)(6)(A)(i); 7

C.F.R. §§ 1.2(a), 1.7.




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        69.    Wildlife Services has failed to notify WWP of any “unusual circumstances” in a

notice that also set forth a date on which the determination was expected to be dispatched within

ten working days of the statutory 20-day deadline, as required by FOIA. 5 U.S.C. §

552(a)(6)(B)(i), 43 C.F.R. § 2.13.

        70.    Wildlife Services has failed to make any records that it may have determined to

release to WWP promptly available, as required by FOIA. 5 U.S.C. § 552(a)(6)(C)(i); 7 C.F.R. §

1.19(a).

        71.    Wildlife Services has failed to provide an estimated date on which it will

complete the request, as required by FOIA. Id. § 552(a)(7)(B)(ii).

        72.    Wildlife Services is improperly withholding records from WWP in violation of

FOIA.

        73.    Unless enjoined and made subject to a declaration of WWP’s legal rights by this

Court, Wildlife Services will continue to violate the rights of WWP to receive public records

under FOIA.

                            THIRD CLAIM FOR RELIEF
Violations of FOIA—Failure to timely respond to FOIA Request No. 2018-APHIS-04319-F.

        74.    WWP realleges and incorporates by reference all preceding paragraphs.

        75.    Wildlife Services has violated and continues to violate FOIA and USDA’s FOIA

regulations by failing to provide WWP with a timely and full response to FOIA request No.

2018-APHIS-04319-F, including but not limited to for the following reasons.

        76.    WWP has a statutory right to the records sought and there is no legal basis for

Wildlife Services to assert that any of FOIA’s nine disclosure exemptions apply to prevent their

disclosure. 5 U.S.C. § 552(b)(1)-(9). Defendants’ failure to produce the documents is therefore

a constructive denial and unlawful withholding.



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        77.    WWP has a statutory right to have Wildlife Services process the request in a

manner which complies with FOIA. WWP’s rights in this regard were violated when Wildlife

Services unlawfully delayed the response to the request beyond the determination deadlines

imposed by FOIA. 5 U.S.C. § 552(a)(6)(A)(i), (ii).

        78.    Wildlife Services has failed to make an adequate and timely determination with

respect to this request because the statutory 20 days for response have passed and Wildlife

Services has failed to inform WWP whether it plans to comply with the request; if so, whether it

will grant WWP’s request for a fee waiver and when WWP may anticipate to receive responsive

documents (an estimated completion date) and if not, the reasons for which it is denying the

request, the volume of records denied, and how WWP may appeal. 5 U.S.C. § 552(a)(6)(A)(i); 7

C.F.R. §§ 1.2(a), 1.7.

        79.    Wildlife Services has failed to notify WWP of any “unusual circumstances” in a

notice that also set forth a date on which the determination was expected to be dispatched within

ten working days of the statutory 20-day deadline, as required by FOIA. 5 U.S.C. §

552(a)(6)(B)(i), 43 C.F.R. § 2.13.

        80.    Wildlife Services has failed to make the records that it has determined to release

to WWP promptly available, as required by FOIA. 5 U.S.C. § 552(a)(6)(C)(i); 7 C.F.R. §

1.19(a).

        81.    Wildlife Services has failed to provide an estimated date on which it will

complete the request, as required by FOIA. Id. § 552(a)(7)(B)(ii).

        82.    Wildlife Services is improperly withholding records from WWP in violation of

FOIA.




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       83.     Unless enjoined and made subject to a declaration of WWP’s legal rights by this

Court, Wildlife Services will continue to violate the rights of WWP to receive public records

under FOIA.

                          FOURTH CLAIM FOR RELIEF
Violations of FOIA—Failure to timely respond to FOIA Request No. 2018-APHIS-04320-F.

       84.     WWP realleges and incorporates by reference all preceding paragraphs.

       85.     Wildlife Services has violated and continues to violate FOIA and USDA’s FOIA

regulations by failing to provide WWP with a timely and full response to FOIA request No.

2018-APHIS-04320-F, including but not limited to for the following reasons.

       86.     WWP has a statutory right to the records sought and there is no legal basis for

Wildlife Services to assert that any of FOIA’s nine disclosure exemptions apply to prevent their

disclosure. 5 U.S.C. § 552(b)(1)-(9). Defendants’ failure to produce the documents is therefore

a constructive denial and unlawful withholding.

       87.     WWP has a statutory right to have Wildlife Services process the request in a

manner which complies with FOIA. WWP’s rights in this regard were violated when Wildlife

Services unlawfully delayed the response to the request beyond the determination deadlines

imposed by FOIA. 5 U.S.C. § 552(a)(6)(A)(i), (ii).

       88.     Wildlife Services has failed to make an adequate and timely determination with

respect to this request because the statutory 20 days for response have passed and Wildlife

Services has failed to inform WWP whether it plans to comply with the request; if so, whether it

will grant WWP’s request for a fee waiver and when WWP may anticipate to receive responsive

documents (an estimated completion date) and if not, the reasons for which it is denying the

request, the volume of records denied, and how WWP may appeal. 5 U.S.C. § 552(a)(6)(A)(i); 7

C.F.R. §§ 1.2(a), 1.7.



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        89.    Wildlife Services has failed to notify WWP of any “unusual circumstances” in a

notice that also set forth a date on which the determination was expected to be dispatched within

ten working days of the statutory 20-day deadline, as required by FOIA. 5 U.S.C. §

552(a)(6)(B)(i), 43 C.F.R. § 2.13.

        90.    Wildlife Services has failed to make the records that it has determined to release

to WWP promptly available, as required by FOIA. 5 U.S.C. § 552(a)(6)(C)(i); 7 C.F.R. §

1.19(a).

        91.    Wildlife Services has failed to provide an estimated date on which it will

complete the request, as required by FOIA. Id. § 552(a)(7)(B)(ii).

        92.    Wildlife Services is improperly withholding records from WWP in violation of

FOIA.

        93.    Unless enjoined and made subject to a declaration of WWP’s legal rights by this

Court, Wildlife Services will continue to violate the rights of WWP to receive public records

under FOIA.

                                     PRAYER FOR RELIEF

        WHEREFORE, WWP respectfully prays that this Court:

        A.     Declare that Wildlife Services’ failure to provide WWP with timely and full

responses to WWP’s FOIA requests described above, including its failure to make timely

determinations and produce all records requested, is in violation of the FOIA, 5 U.S.C. §

552(a)(6).

        B.     Order Wildlife Services to immediately and fully provide WWP with any and all

agency records responsive to WWP’s FOIA request described above, 5 U.S.C. § 552(a)(4)(B),

including any and all such records that would be responsive as of the date of such court order.




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       C.      Award WWP its reasonable costs, litigation expenses, and attorney’s fees incurred

in prosecuting this civil action under the FOIA, 5 U.S.C. § 552(a)(4)(E), and/or all other

applicable authorities.

       D.      Grant such other and further relief as the Court deems just and proper.

       Dated this July 26, 2018.

                                             Respectfully submitted,

                                             s/ Scott Lake
                                             Scott Lake (ISB #10493)

                                             Attorney for Plaintiff




                                       COMPLAINT – 19
